              Case 1:18-cv-00295-LY Document 22 Filed 06/04/18 Page 1 of 4



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION


COMMUNITY FINANCIAL SERVICES
ASSOCIATION OF AMERICA, LTD., and
CONSUMER SERVICE ALLIANCE OF
TEXAS,
                                                    Civil Action No. 1:18-cv-295
     Plaintiffs,

v.

CONSUMER FINANCIAL PROTECTION
BUREAU and JOHN MICHAEL
MULVANEY, in his official capacity as
Acting Director, Consumer Financial
Protection Bureau,

     Defendants.



          UNOPPOSED PROTECTIVE MOTION TO EXTEND TIME TO ANSWER
                               COMPLAINT

         Defendants the Bureau of Consumer Financial Protection (Bureau) and John Michael

Mulvaney, in his official capacity as Acting Director of the Bureau, respectfully move for an

extension of time for Defendants to answer the complaint in this case as set forth below.

Plaintiffs do not oppose this motion. In support of this motion, Defendants state as follows:

         1.        On November 17, 2017, the Bureau published in the Federal Register a final rule

entitled “Payday, Vehicle Title, and Certain High-Cost Installment Loans” (“Payday Rule” or

“Rule”). 82 Fed. Reg. 54,472 (Nov. 17, 2017). The Payday Rule imposes various requirements

on the extension and collection of certain consumer loans.

         2.        On April 9, 2018, Plaintiffs Community Financial Services Association of

America, Ltd., and Consumer Service Alliance of Texas—two trade associations whose
            Case 1:18-cv-00295-LY Document 22 Filed 06/04/18 Page 2 of 4



members are engaged in the business of offering or facilitating payday loans and similar

consumer financial products—filed the instant action seeking an order and judgment holding

unlawful, enjoining, and setting aside the Rule.

       3.      On May 31, 2018, Plaintiffs and Defendants filed a Joint Motion for Stay of

Litigation and Stay of Agency Action Pending Review (“Joint Motion”) (ECF No. 16). The

Joint Motion requests that the Court stay this litigation pending planned rulemaking by the

Bureau to reconsider the Payday Rule and stay the Rule’s compliance date until 445 days after

final judgment in this litigation. The Joint Motion also requests that the Bureau’s obligation to

file an answer in this case be waived.

       4.      On June 2, 2018, four advocacy organizations filed a motion for leave to file an

amicus brief opposing the parties’ Joint Motion for a stay of agency action pending review. The

proposed amicus brief does not oppose the request in the Joint Motion that the Bureau’s

obligation to file an answer be waived.

       5.      The Court has not yet ruled on the parties’ Joint Motion, including the request that

the Bureau’s obligation to file an answer be waived.

       6.      The docket indicates that, absent a grant of the Joint Motion, the Bureau’s answer

is currently due on June 11, 2018.1

       7.      Defendants file this motion as a protective, stand-alone request for an extension of

time to file an answer in this case, in the event this Court has not waived Defendants’ obligation

to answer the complaint as requested in the Joint Motion by the date the answer is due. In

particular, Defendants request that the Court extend the time in which Defendants must file an



1
  The Summons and Complaint were served on the United States Attorney on April 13, 2018, so
the Bureau calculates that its current deadline to respond to the complaint is June 12. See Fed. R.
Civ. P. 4.
                                                   2
             Case 1:18-cv-00295-LY Document 22 Filed 06/04/18 Page 3 of 4



answer until 45 days after the date this Court rules on the Joint Motion or 45 days after the

requested stay of litigation (if entered by the Court) is lifted, whichever is later, to provide

Defendants’ counsel adequate time to respond. This request is not intended to supersede the

request in the Joint Motion that Defendants be excused from the obligation to file an answer in

this case.

        8.      Pursuant to Local Rule CV-7(i), Counsel for Defendants conferred with counsel

for Plaintiffs. Plaintiffs’ counsel stated that Plaintiffs do not oppose the relief requested in this

motion.



Dated: June 4, 2018

                                               Respectfully submitted,

                                               MARY McLEOD
                                               General Counsel
                                               JOHN R. COLEMAN
                                               Deputy General Counsel
                                               STEVEN Y. BRESSLER
                                               Assistant General Counsel

                                                /s/ Kristin Bateman
                                               KRISTIN BATEMAN (Cal. Bar No. 270913)
                                               KEVIN E. FRIEDL (NY Bar No. 5240080)
                                               NANDAN JOSHI (DC Bar No. 456750)
                                               Attorneys
                                               Consumer Financial Protection Bureau
                                               1700 G Street, NW
                                               Legal Division
                                               Washington, D.C. 20552
                                               Telephone: (202) 435-7821
                                               Fax: (202) 435-7024
                                               Kristin.Bateman@cfpb.gov

                                               Counsel for Defendants Consumer Financial
                                               Protection Bureau and John Michael Mulvaney



                                                   3
           Case 1:18-cv-00295-LY Document 22 Filed 06/04/18 Page 4 of 4



                                 CERTIFICATE OF SERVICE

I hereby certify that on June 4, 2018, I electronically filed the foregoing with the Clerk of Court
using the CM/ECF system, which will send notification of such filing to all counsel of record.




                                              /s/ Kristin Bateman
                                              Kristin Bateman
                                              Counsel for Defendants
